Case 2:16-cv-01321-RFB-GWF Document 1-2 Filed 06/14/16 Page 1 of 6

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GABRIELA BARRERA

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BRYAN H. BLACKWELL, ESQ,

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~ Keferdantes} (narniwaddross*phane):
CARBENAS MARKETS, INC ee
: Adtomey (nanny address phone):
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Case 2:16-cv-01321-RFB-GWF Document 1-2 Filed 06/14/16 Page 2 of 6

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Bryan H. Blackwell, ESQ.

Nevada Bar No. 12558

RICHARD HARRIS LAW FIRM

801 South Fourth Street

Las Vegas, Nevada 89101

Phone: (702) 444-4444

Fax: (702) 444-4455

E-Mail: bryan.blackwell@RichardHarrisLaw.com
Attorneys for Plaintiff

CLERK OF THE COURT

DISTRICT COURT

CLARK COUNTY, NEVADA

 

) A-16-733477-C
GABRIELA BARRERA, ) CASE NO. XXXII
) DEPT. NO.
Plaintiff, )
)
VS. )
)
CARDENAS MARKETS, INC.; DOES I- )
20 and ROE BUSINESS ENTITIES 1-20, )
inclusive, )
)
Defendants. )
)
)
PLAINTIFF’S COMPLAINT

 

COMES NOW, Plaintiff GABRIELA BARRERA, by and through her counsel, BRYAN
H. BLACKWELL, ESQ. of the RICHARD HARRIS LAW FIRM, and for her causes of action
against Defendants, and each of them, complains and alleges as follows:
JURISDICTION
1. Atall times relevant, Plaintiff GABRIELA BARRERA was and 1s a resident of
Clark County, State of Nevada.
2. That Defendant CARDENAS MARKETS, INC. is, and at all times mentioned

herein was a foreign business or other business entity, licensed to do business in the County of

Clark, State of Nevada.

 
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Case 2:16-cv-01321-RFB-GWF Document 1-2 Filed 06/14/16 Page 3 of 6

3. That Defendants DOES 1-5 and ROE BUSINESS ENTITIES 1-5 are other owners
or operators of the property located at 4700 Meadows Lane, Las Vegas, NV 89107, commonly
known as the Cardenas (“the Property”).

4. That Defendants DOES 6-10 and ROE BUSINESS ENTITIES are the employees,
managers or controllers responsible for constructing, and/or stocking of the shelves and
merchandise at issue.

5. That Defendants DOES 11-15 and ROE BUSINESS ENTITIES 11-15 are the
designers and maintenance providers for the Property, specifically the designers and
maintenance providers of the shelving and merchandise at issue.

6. That Defendants DOES 16-20 and ROE BUSINESS ENTITIES 16-20 are the
construction companies, sub-contractors, vendors, inspectors or other persons responsible for
the installation and construction of the area on the Property where the subject incident occurred,
specifically the shelving and adjacent area.

7. That the true names and capacities of the Defendants designated herein as Doe or
Roe Business Entities are presently unknown to Plaintiff at this time, who therefore sue said
Defendants by such fictitious names — these entities would specifically include Employees and
owners associations presently unknown. When the true names and capacities of these defendants
are ascertained, Plaintiff will amend this Complaint accordingly.

8. That at all times pertinent, Defendants and each of them were agents, servants,
employees or joint venturers of every other Defendant herein, and at all times mentioned herein}
were acting within the scope and course of said agency, employment, or joint venture, with]
knowledge and permission and consent of all other named Defendants.

FACTS COMMON TO ALL CAUSES OF ACTION

9, That on or about August 13, 2014, Plaintiff was an invitee on the Property located
at 4700 Meadows Lane, Las Vegas, NV 89107.

10. On or about August 13, 2014, Plaintiff was injured when she slipped and fell on a
liquid substance that was on the floor (hereinafter referred to as the “dangerous condition”).

11. Upon information and belief, the dangerous condition was caused as a direct result

 
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Case 2:16-cv-01321-RFB-GWF Document 1-2 Filed 06/14/16 Page 4 of 6

of the Defendants’ failure to design, construct, control, supervise, repair, and/or maintain the
Property in a reasonable and safe manner.

12. Defendants maintained and were in control of the Property.

13. Defendants knew, or reasonably should have known, that the dangerous condition
existed on or about the Property.

14. Defendants failed to place signs, caution, warn, or otherwise make safe, the
dangerous condition existing on or about the Property. Accordingly, Defendants negligently,
carelessly, and recklessly created, maintained, and/or allowed the dangerous condition to exist.

15. Defendants should have warned or otherwise made safe the dangerous condition
because that condition was non-obvious to Plaintiff.

FIRST CLAIM FOR RELIEF (NEGLIGENCE)

16. Plaintiff incorporates paragraphs 1 through 15 of the Complaint as if those
paragraphs were fully incorporated and set forth herein.

17. Defendants owed Plaintiff a duty of care to warn her of the non-obvious and
dangerous condition.

18. Defendants breached this duty of care by failing to place caution signs, or otherwise
failing to warn Plaintiff of the dangerous, non-obvious condition.

19. Defendants’ negligence directly and proximately caused Plaintiff serious injury.

20. Asa direct and proximate result of Defendants’ negligence, Plaintiff received
medical and other treatments for injuries sustained to body, limbs, organs and nervous systems,
all or some of which conditions may be permanent and disabling and, all to Plaintiff's damage
in a sum in excess of $10,000.00. That said services, care, and treatment are continuing and
shall continue in the future.

21. Asa direct and proximate result of Defendants’ negligence, Plaintiff has been
required to and has limited certain occupational and recreational activities.

22. That as a direct and proximate result of Defendants’ negligence, Plaintiff, was
prevented or limited from attending to her usual occupation, and thereby has past and future loss

of earnings and earning capacity all to her special damage in an amount according to proof at

 
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Case 2:16-cv-01321-RFB-GWF Document 1-2 Filed 06/14/16 Page 5 of 6

trial.

23. Asa direct and proximate restdt of Defendants’ negligence, Plaintiff has been

required to engage the services of an attorney, incurring aitorney’s fees and costs to bring this

 

ACHION.
PRAVER FOR RELIER
WHEREFORE, Plaintiff, expressly reserving the right to amend this Complaint prior to or

at the time of trial of this action te insert those items of damage sot yet fully ascertainable,

prays judgment against the Defendants, and each of them, as fallows:

i, General damages sustained by Plaintiff in an amount in excess of $10,000.00;
2. Special damages to be determined at the time of irtal;

3, Medical and incidental expenses already incurred and to be incurred:

4. Reasonable attorney's fees and costs of suit:

5, Interest at the statutory rate; and

&. For such other relief as the Court deems just and proper.

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DATED THIS [8 day of March, 2016.

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BRYAN H. “BLACE WE LL. ESO 2
Nevada Bar No. 12558

801 South Fourth Street

Las Vegas, Nevada 89101
Altarneys for Plaintiff

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GABRIELA BARRERA,

Case 2:16-cv-01321-RFB-GWF Document 1-2 Filed 06/14/16 Page 6 of 6

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BRYAN H, BLACKWELL, ESQ.
Nevada Bar No. 12548

RICHARD BARRIS LAW FIRM
SOt South fourth Street

Las Vegas, Nevada 8YLOT

Phone: (702) 444-4444

iPax: (702) 444-4455

Attorneys for Plainity

DISFRICT COURT
CLARKE COUNTY, NEVADA
A-16-733477-C
CASE NO:
DEPT NO. XXXI

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Plainti
VS.
CARDENAS MAREETS, INC: DOES I-
20 and ROE BUSINESS ENTITIES 1-20,

inclusive,

Defendants.

 

 

Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for
fees appearing in the above entitled action as indicated below:

GABRIELA BARRERA BE U OY

TOTAL REMIPPTED: S 270.00 |
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DATED THIS Ll day of March, 2016.

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BRYAN H. BLACK WELL, ESQ.
Nevada Bar No. [2558

801 South Fourth Street

Las Vegas, Nevada $9101

 

 
